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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF GEORGIA
                                 ATLANTA DIVISION

           CHARLES COFER, et al.,

                   Plaintiffs,

           v.                                   CIVIL ACTION FILE NO.:
                                                1:13-CV-02603-HLM

           SECURE CASH SYSTEMS, LLC, et al.,

                   Defendants.

                                              ORDER

                  This case is before the Court on Plaintiffs' Motion for Voluntary

           Dismissal Without Prejudice of Defendants Secure Cash Systems,

           LLC, Arthur Geiss, and Scott O'Neil [138], on the Court's

           September 2, 2014, Order [140], and on Defendant Gaylin Ware's

           Objection [141 ].

                   Plaintiffs seek to dismiss their claims against Defendants

           Secure Cash Systems, LLC, Arthur Geiss, and Scott O'Neil without

           prejudice. (Docket Entry No. 138.) On September 2, 2014, the


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           Court issued an Order directing the remaining Defendants to file

           their Objections, if any, to the dismissal without prejudice of

           Defendants Secure Cash Systems, LLC, Arthur Geiss, and Scott

           O'Neill within fourteen days after September 2, 2014. (Order of

           Sept. 2, 2014 (Docket Entry No. 140).) The fourteen-day period

           has expired, and the Clerk's docket indicates that only Defendant

           Gaylin Ware has filed an Objection. (Docket Entry No. 141.) The

           Court has reviewed Defendant Gaylin Ware's Objection, and

           concludes that the Objection does not warrant denying the Motion

           to Dismiss Without Prejudice. 1

                ACCORDINGLY, the Court GRANTS Plaintiffs' Unopposed

           Motion to Dismiss Without Prejudice Defendants Secure Cash


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                  Defendant Gaylin Ware's Objection is based on that
           Defendant's belief that "plaintiffs were never clients of Gaylin Ware
           Or Total Choice Corp, et al., defendants; therefore I think it's only
           right for the plaintiffs to dismiss their claims against Gaylin Ware
           and Total Choice Corp, et al., without prejudice." (Objection
           (Docket Entry No. 141) at 1.)
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           Systems, LLC, Arthur Geiss, and Scott O'Neil [138], and

           DISMISSES WITHOUT PREJUDICE Plaintiffs' claims against

           those Defendants.
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               IT IS SO ORDERED, this the~ day of September, 2014.


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